
In re New Iberia, City of; New Iberia Police Dept.; — Defendants; applying for writ of certiorari and/or review; Parish of Iberia, 16th Judicial District Court, Div. “C”, No. 81209-C; to the Court of Appeal, Third Circuit, No. CA97-0970.
Granted with order. Judgment of the Court of Appeal is vacated and set aside. Judgment of the trial court is reinstated. Plaintiff was validly detained pursuant to the search warrant and the search, Michigan v. Summers, 452 U.S. 692, 101 S.Ct. 2587, 69 L.Ed.2d 340 (1981); and the law enforcement officers acted prudently in handcuffing the defendant. United States v. Fullwood, 86 F.3d 27, 29-30 (2nd Cir.1996); State v. Banks, 720 P.2d 1380 (Utah 1986). There were no issues of material fact, and defendant was entitled to judgment as a matter of law. Therefore, the trial court correctly granted the defendant’s motion for summary judgment. La.Code Civ.P. art. 966(B).
CALOGERO, C.J., and LEMMON, J., would grant and docket.
TRAYLOR, J., not on panel.
